   Case 1:03-cv-00050-JRH     Document 1409      Filed 08/27/20   Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION


WHITESELL CORPORATION,                   *
                                         *


            Plaintiff,                   *
                                         *


     V.                                  *        CV 103-050
                                         *


ELECTROLUX HOME PRODUCTS, INC.,          *
HUSQVARNA, A.B., and HUSQVARNA           *
OUTDOOR PRODUCTS, INC.,                  *
                                         *


            Defendants.




                                   ORDER




     Presently pending before the Court is Defendants' "Motion to

Strike Whitesell's Claims for Prejudgment Interest."                   (Doc. No.

1305.)    Upon due consideration, the motion is DENIED as delineated

herein.


     In brief summary of prior rulings in the case, the Court

previously determined that Plaintiff Whitesell Corporation could

not assert a claim for prejudgment interest under O.C.G.A. § 7-4-

16 on any claim for unliquidated damages.              (See Order of May 28,

2014, Doc. No. 577, at 14-16.)           Rather, such claim could only be

asserted   in   Count   VI   of   the   Second   Amended    Complaint     ("SAC")

related to unpaid invoices, i.e., the only arguable liquidated
      Case 1:03-cv-00050-JRH     Document 1409     Filed 08/27/20   Page 2 of 7



damages claim.^         (Id. at 15 (holding that the inclusion of an

interest claim under O.C.G.A. § 7-4-16 in any claim other than the

damages    claim   in    Count   VI   (Paragraph     199)   would    be   futile).)

Subsequent to the filing of the SAC, the Court also precluded a

claim of interest under O.C.G.A. § 13-6-13 on the unliquidated

damages claims.^        (Order of May 17, 2016, Doc. No. 818.)            The Court

determined that the inclusion of a claim for prejudgment interest

under O.C.G.A. § 13-6-13 was an impermissible new claim and, in

any event, would be futile because such claim may only be awarded

if the amount of damages is ascertainable at the time of the

contractual breach.        (Id.)      On May 15, 2017, the Court reaffirmed

these rulings.       (Order of May 15, 2017, Doc. No. 896.)                Finally,

the    Court   denied   Plaintiff's     motion   for   reconsideration      of its

preclusion of a claim for prejudgment interest under O.C.G.A. §

13-6-13.       (Order of Apr. 16, 2019, Doc. No. 1184.)




1 O.C.G.A. § 7-4-16 provides: ''The owner of a commercial account
may charge interest on that portion of a commercial account which
has been due and payable for 30 days or more at a rate not in
excess of 1^ percent per month calculated on the amount owed from
the date upon which it became due and payable until paid." This
statute is not applicable in the absence of a liquidated damages
claim. Typo-Repro Servs. Inc. v. Bishop 373 S.E.2d 758 (Ga. Ct.
App. 1988).

2  O.C.G.A. § 13-6-13 provides: "In all cases where an amount
ascertained would be the damages at the time of the breach, it may
be increased by the addition of legal interest from that time until
the recovery."    The legal rate of interest is 7% per annum.
O.C.G.A. § 7-4-2(a)(1)(A).
                                          2
   Case 1:03-cv-00050-JRH     Document 1409   Filed 08/27/20    Page 3 of 7



     At present, Plaintiff has provided an expert report of Mr.

Peter J. Karutz, a forensic accountant, on the issue of damages.

The Karutz Report is dated April 12, 2019 and was updated on August

12, 2019.    The Karutz Report sans referenced Schedules appears in

the record of the case as Exhibit E to Defendants' motion to strike


certain opinions of Mr. Karutz.           (Doc. No. 1314-13.)            In the

report,     Mr.    Karutz   calculates   prejudgment     interest        on   all

Plaintiff's remaining claims for damages.           In light of the prior

rulings. Defendants ask the Court to strike these calculations

from the     Karutz   Report.    Defendants    also   now      seek to    strike

Plaintiff's claim for prejudgment interest in Count VI of the SAC

related to unpaid invoices.

          Prejudgment Interest on Claims Other Than Count VI
                            (O.C.G.A. § 13-6-13)

     Plaintiff defends its inclusion of prejudgment interest in

its expert's damages calculations as an exercise                  of judicial

economy.     Plaintiff states that its prejudgment interest claims

should be submitted to the jury in case this Court reconsiders,

rescinds    or    modifies its   prior   rulings   respecting      Plaintiff's

entitlement thereto.        Presentation of the issue to a jury would

also eliminate the need for a retrial should the Eleventh Circuit

reverse this Court's rulings.

     Upon consideration, the Court will not strike the damages

calculations respecting prejudgment interest for the unliquidated
   Case 1:03-cv-00050-JRH     Document 1409    Filed 08/27/20   Page 4 of 7



damages claims as calculated in the Karutz Report.              The issue will

not be presented to a jury by way of evidence or argument, however.

Without necessarily concluding that Plaintiff s present motion is

""proper advocacy" (see Pl.'s Sur-Reply, Doc. No. 1373, 1 9), the

Court recognizes that there is ""no harm done" by the expert's

calculations (id. SI 10).           As suggested by Plaintiff, the Court

will therefore allow the calculations to remain, but simply not

put them to use.    (See id.)        That is to say, the calculations of

prejudgment interest        under    O.C.G.A. § 13-6-13 on         Plaintiffs

claims other than Count VI will be allowed to remain in the Karutz

Report.    If the Karutz Report is presented to a jury, it will be

redacted in accordance with this Order.           In this way. Defendants'

motion to strike the prejudgment interest calculations in the

Karutz Report pertaining to claims other than Count VI is DENIED.

                   Prejudgment Interest on Count VI
                            (O.C.G.A. § 7-4-16)

     Count VI of Plaintiff's SAC, entitled ""Breach               of Contract

(Failure to Pay Invoices)," alleges that Defendants have refused

to pay ""valid and undisputed invoices" for parts Plaintiff supplied

to it.    (SAC, Doc. No. 578, 1 170.)         Therein, Plaintiff claims it

is entitled to 18% interest under O.C.G.A. § 7-4-16.              (Id. SI 179.)

     Previously, the Court determined that Count VI is arguably

the only liquidated claim brought by Plaintiff.            (Order of May 28,

2014, at 15.)    Through its present motion to strike Plaintiff's
      Case 1:03-cv-00050-JRH   Document 1409       Filed 08/27/20    Page 5 of 7



claims of prejudgment interest, Defendants argue that Count VI is

an    unliquidated    claim.      Thus,       Defendants   seek     to   strike    Mr.

Karutz's interest calculations related to Count VI.^

       A claim for damages is liquidated if it is for "an amount

certain and fixed, either by the act and agreement of the parties

or by operation of law; a sum which cannot be changed by the

proof." Patton v. Turnage, 580 S.E.2d 604, 609 (Ga. Ct. App. 2003)

(quoted source omitted).       Defendants argue that Plaintiff's claims

on unpaid invoices do not fit this definition because the amount

Plaintiff has claimed through Count VI "has vacillated wildly."

(Defs.' Mot. to Strike, Doc. No. 1305, at 7.)                     Defendants point

out that Whitesell sought a total dollar amount of over $4 million

in the SAC, but Mr. Karutz has now calculated the principal amount

due and owing as just over $2 million.                 (Id.)        Defendants also

argue that there are bona fide disputes concerning the prices to

be applied for the parts invoiced.                 For instance, in order to

determine the price per part of "new parts," a jury must determine

the    pricing   by   reference    to   the     most    similar     part   that    was

purchased by Defendants from Whitesell at the time.                        (Id. at 8

(citing Supply Purchase Agreement, § 5.6).)




3 Mr. Karutz erroneously computed prejudgment interest on Count VI
damages at 7%.   Plaintiff represents that Mr. Karutz will update
his calculations at the 18% interest rate pursuant to O.C.G.A. §
7-4-16. (See PI.'s Resp. to Defs.' Mot. to Strike, Doc. No. 1339,
at 9 n.5.)
                                          5
   Case 1:03-cv-00050-JRH     Document 1409      Filed 08/27/20        Page 6 of 7



     The Court has now considered a portion of Plaintiff's unpaid

invoice    claims    in   resolving   Defendant     Husqvarna's           motion     for

summary judgment as to certain of Plaintiff's accounts receivable

pricing discrepancy claims, which are part of Count VI.                        Through

its Order of August 13, 2020, the Court determined that pricing on

many of the subject parts could be determined as a matter of law

by reference to the applicable pricing provisions in the parties'

agreements.    (Doc. No. 1408, at 7-17.)          In fact, for 22 of the 25

parts, the Court was able to readily determine the appropriate

price per part by application of the pricing provisions to the

undisputed evidence.         (See id.)       Plaintiff's argument of waiver

notwithstanding,       the   Court    concluded      that      Defendants            owed

Plaintiff the fixed and certain amount of $6,429.06.                     (Id. at 15.)

As expressed by the Georgia Court of Appeals, a commercial account

is liquidated (and therefore subject to prejudgment interest) even

if the defendant unsuccessfully contests the amount due and even

if the ultimate amount awarded is less than that requested.                      Elec.

Works CMA, Inc. v. Baldwin Tech. Fabrics, LLC, 703 S.E.2d 124, 126

(Ga. Ct. App. 2010) (quoted source omitted); see also Buck Creek

Indus. V. Crutchfield & Co., 210 S.E.2d 32, 33 (Ga. Ct. App. 1974)

(stating    that    one   party   cannot     by "means    of      an    unsuccessful

defense" render an amount due and owing on a commercial account

uncertain).        Accordingly, with       respect to the unpaid invoices

involving 22 of the 25 parts upon which the Court determined that
                                         6
      Case 1:03-cv-00050-JRH    Document 1409       Filed 08/27/20    Page 7 of 7



Defendant        Husqvarna    owes    Plaintiff      $6,429.06,           Plaintiff    is

entitled to prejudgment interest at a rate of 18% under O.C.G.A.

§ 7-4-16.^


       Turning now to the other invoices involved in Count VI that

are unresolved, it appears that the pricing for the involved parts

may    be      hotly    disputed,    are   not     subject   to      application      of

straightforward payment terms in a contract, and involve a jury's

consideration          of extrinsic evidence.         Accordingly,          Plaintiff's

claims on the remaining unpaid invoices may be unliquidated.                          The

Court, however, will defer this matter until trial.

        Upon     the    foregoing.    Defendants'      motion        to    strike     the

prejudgment interest calculations in the Karutz Report pertaining

to Count VI (doc. no. 1305) is DENIED.

        ORDER ENTERED at Augusta, Georgia, this                      ^y of August,
2020.




                                                 J. R?rWD^fe^ALL,9^Hl\:F iUDGE
                                                 UNITED STATES    DISTRICT COURT
                                                 ;OUTHE^ DISTRICT OF GEORGIA




^ The Court can discern no genuine dispute of material fact as to
the amount of prejudgment interest owed on these invoices. Indeed,
the due date and the amount owed on each invoice should be readily
determinable.
                                           7
